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        In the United States Court of Federal Claims
   * * * * * * * * * * * * * * * * **       *
                                            *
  DAVID CATES AND LINDA CATES,              *
                    Plaintiffs,             *
                                            *
            v.                              *   No. 18-1073T
                                            *   Filed: February 1, 2019
  UNITED STATES,                            *
                    Defendant.              *
                                            *
     * * * * * * * * * * * * * * * * **     *

                                      ORDER

      The court is in receipt of the plaintiffs’ February 1, 2019 motion to voluntarily
dismiss the above captioned case without prejudice. Pursuant to Rule 41(a)(1) of the
Rules of the United States Court of Federal Claims (2018), this court ORDERS that this
case be DISMISSED without prejudice.


      IT IS SO ORDERED.

                                                   s/Marian Blank Horn
                                                   MARIAN BLANK HORN
                                                            Judge
